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 1   STEPHANIE YONEKURA
     Acting United States Attorney
 2   ROBERT E. DUGDALE
     Assistant United States Attorney
 3   Chief, Criminal Division
     ANTHONY J. LEWIS (Cal. Bar No. 231825)
 4   Assistant United States Attorney
     National Security Section
 5        1300 United States Courthouse
          312 North Spring Street
 6        Los Angeles, California 90012
          Telephone: (213) 894-1786
 7        Facsimile: (213) 894-6436
          E-mail:     anthony.lewis@usdoj.gov
 8
     Attorneys for Plaintiff
 9   UNITED STATES OF AMERICA

10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,              No. SA CR 14-173-CAS

13             Plaintiff,                   GOVERNMENT’S NOTICE OF FILING
                                            ATTORNEY GENERAL’S DECLARATION
14                   v.                     AND CLAIM OF PRIVILEGE

15   KEITH PRESTON GARTENLAUB,

16             Defendant.

17

18         Plaintiff United States of America, by and through its counsel

19   of record, the Office of the United States Attorney for the Central

20   District of California, hereby files the attached Declaration and

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 1   Claim of Privilege of the Attorney General of the United States,

 2   attached hereto.

 3   Dated:   May 4, 2015               Respectfully submitted,

 4                                      STEPHANIE YONEKURA
                                        Acting United States Attorney
 5
                                        ROBERT E. DUGDALE
 6                                      Assistant United States Attorney
                                        Chief, Criminal Division
 7

 8                                             /s/
                                        ANTHONY LEWIS
 9                                      Assistant United States Attorney

10                                      Attorneys for Plaintiff
                                        UNITED STATES OF AMERICA
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      Declaration and Claim of
           Privilege of the
       Attorney General of the
             United States
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